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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

DoNTE MchELLoN, an individual 1 9 . v n 3 9 4 g 9
No.

Plaintiff,

v.
PLAINTIFF’S COMPLAINT
BANK OF AMERICA N.A., a corporation
JURY TRIAL DEMANDED
Defendant.

 

Pro Se Plaintiff Donte McClellon, hereby submits this complaint for the causes of action
against the Defendant and law supporting Defendant Bank’s liability for Plaintift’s damages, and

states as follows:

INCLUDES REGULATION J SUBPART B AND ARTICLE 4-A OF UNIFORM

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I. ` PRELIMINARY sTATEMENT

l.l This is an action under the Uniform Commercial Code (4.22.005 to 925; § 4A-202; §
4A-201; and § 4A-204) and Washington Consumer Protection Act, RCW 19.86.020,
based upon Defendant’s blatant self-dealing and other intentional negligent
misconduct in conversion, freezing, pooling, otherwise manipulating Plaintiff’s funds

without Plaintift’s authorization

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Defendant was negligent in complying with ERROR RESOLUTION PROCEDURES:
12 C.F.R. §1005.11 and CONSUMER LIABILITY FOR UNAUTHORIZED EFTs:
12 C.F.R. §1005.6.

Defendant was negligent and is liable for the harm to Plaintiff because they executed
these two fraudulent wire transfers by simply comparing signatures as their
investigation finding letter stated which does not comply with RCW 62A.4A-201 and
RCW 62A.4A-202 as a security procedure. According to Defendant’s investigation
finding letter, that is required under Regulation E, their only finding was that the
signatures matched Which of course, Plaintiff contest.

But for the actions of the Defendant’s actions in transmitting these two fraudulent
Wire transfers by not following security procedure according to Defendant’s
investigation finding letter, Plaintiff would’ve had his funds to procure 100 Bitcoins at
Coinbase.

Defendant failed to detect fraud and accepted unauthorized funds transfers

Plaintiff further allege that the Defendant breached the contract, failed to comply with
Electronic Fund Transfer Act implemented by Regulation E and committed the tort of
negligence in the handling of Plaintiffs funds. The Plaintiff seeks compensatory
damages and all other damages (i.e., direct and consequential damages) allowed by

law, and payment of costs and attorneys’ fees.

Plaintiff opened an checking account with Defendant.

Plaintiff timely filed his good faith Regulation E claims with Defendant on May 19
2017 but the Defendant failed to protect the checking account in subject, provisional

credit the Plaintiff and have those funds be accessible to him.

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Timely filed because Electronic Funds Transfer act implemented by Regulation E
states a claim must be filled within 60 days. The days between April 3’d 2017 and
May 19th 2017 is 46 calendar days. And the days between April 18th 2017 to May
19th 2017 is 31 calendar days. So Plaintiff was in compliance with RCW 62A.4A-204

also.

The claim number is 19MAY2017-802794

The fraudulent transactions at issue that took place in the checking account in subject

are $123, 553.15 on April 3rd, 2017 and $54,000.00 on April 18“‘, 2017

AS the depositor, the Plaintiff is entitled to protections under Regulation E: Electronic
Fund Transfers 12 CFR 205. Regulation E provides a basic framework that establishes
the rights, liabilities, and responsibilities of participants in electronic fund transfer
systems such as automated teller machine transfers, telephone bill-payment services,
point-of-sale (POS) terminal transfers in stores, and preauthorized transfers from or to
a consumer‘s account (such as direct deposit and social security payments). The term
"electronic fund transfer" (EFT) generally refers to a transaction initiated through an
electronic terminal, telephone, computer, or magnetic tape that instructs a financial

institution either to credit or to debit a consumer‘s asset account.

“The Electronic Fund Transfer Act (EFTA), as implemented by Regulation E,
provides basic protections for consumers with electronic direct deposits or who use
debit cards to access their deposit account held directly or indirectly at a bank. These
protections include timeframes by which a bank must investigate and determine
whether an error occurred when you notify your bank of an error and, in some cases,

requirements to provide provisional credit while the investigation is performed For

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eXample, if you notify your bank of a potential account error, Regulation E requires a
bank to investigate and determine whether an error occurred within 10 business days
of receiving your notice (or 20 business days for new accounts). lf a bank is unable to
complete its investigation within the appropriate timeframe, it may take up to 45 days
to determine whether an error occurred But in these cases, banks must generally
provide consumers with a provisional credit to their account within 10 days of the
bank receiving the error notice. Also, banks must notify consumers about the
provisional credit within two days of providing the credit “ (Taken verbatim from

FDIC @ https://www.fdic.gov/consumers/assiStance/protection/errorresolution.html)

Section 205.11 Procedures for resolving errors, states that if a consumer notifies an
institution that an error involving an EFT has occurred, the institution must investigate
and resolve the claim within specified deadlines. Errors covered by this requirement
include unauthorized EFTs, incorrect EFTS, and the omission from an account

statement of an EFT that should have been included.

Section 205.6 Liability of consumer for unauthorized transfers, limits a consumer‘s
liability for unauthorized electronic fund transfers, such as those arising from loss or
theft of an access device, to $50; if the consumer fails to notify the depository

institution in a timely fashion, the amount may be $500 or unlimited

TAKEN VERBATIM: “§ 205.6 Liability of consumer for unauthorized transfers

(a)Conditions for liability. A consumer may be held liable, within the limitations
described in paragraph (b) of this section, for an unauthorized electronic fund
transfer involving the consumer's account only if the financial institution has provided

the disclosures required by § 205.7(1))(1), (2), and (3). If the unauthorized transfer

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involved an access device, it must be an accepted access device and the financial
institution must have provided a means to identij/ the consumer to whom it was

issued

(b)Limitations on amount of liability A consumer's liability for an unauthorized
electronic fund transfer or a series of related unauthorized transfers shall be

determined as follows.'

(])Timely notice given If the consumer notifies the financial institution within two
business days a/€‘er learning of the loss or theft of the access device, the consumer's
liability shall not exceed the lesser of $50 or the amount of unauthorized transfers that

occur before notice to the financial institution

(Z)Timely notice not given If the consumer fails to notify the financial institution
within two business days after learning of the loss or theft of the access device, the

consumer's liability shall not exceed the lesser of $500 or the sum of.'

(i) $50 or the amount of unauthorized transfers that occur within the two business

days, whichever is less,‘ and

(ii) T he amount of unauthorized transfers that occur after the close of two business
days and before notice to the institution, provided the institution establishes that these
transfers would not have occurred had the consumer notified the institution within

that two-day period

(3)Peri0dic statement; timely notice not given A consumer must report an
unauthorized electronic fund transfer that appears on a periodic statement within 60

days of the financial institution's transmittal of the statement to avoid liability for

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subsequent transfers If the consumer fails to do So, the consumer's liability shall not
exceed the amount of the unauthorized transfers that occur after the close of the 60
days and before notice to the institution and that the institution establishes would not
have occurred had the consumer notified the institution within the 60-day period
When an access device is involved in the unauthorized transfer, the consumer may be
liable for other amounts set forth in paragraphs (b) (]) or (b)(2) of this section, as

applicable

(4)Extension of time limits If the consumer's delay in notifying the financial
institution was due to extenuating circumstances the institution shall extend the times

specified above to a reasonable period.

(5)Notice to financial institution

(t) Notice to a financial institution is given when a consumer takes steps reasonably
necessary to provide the institution with the pertinent information, whether or not a

particular employee or agent of the institution actually receives the information

(ii) T he consumer may notify the institution in person, by telephone, or in writing

(iii) Written notice is considered given at the time the consumer mails the notice or
delivers it for transmission to the institution by any other usual means. Notice may be
considered constructively given when the institution becomes aware of circumstances
leading to the reasonable belief that an unauthorized transfer to or from the

consumer's account has been or may be made.

(6)Liability under state law or agreement If state law or an agreement between the

consumer and the financial institution imposes less liability than is provided by this

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section, the consumer's liability shall not exceed the amount imposed under the state

law or agreement ”

Here, Plaintiff notified the Defendant within the 60 day time frame of these

transactions pursuant to Regulation E.

Defendant has already honored and paid prior fraud claims as well as identified errors
in the checking account in subject, however Defendant whatever reason is now

backpedaling and refusing to honor similar fraud claims identified in this suit.

By honoring and paying other fraud claims that are within the same time period (i.e., 2
months) as the fraud claims identified in this suit, Defendant Was aware of the

fraudulent transactions occurring in the checking account in subject here.

Regulation E states that a provisional credit must be provided within 10 business days

Plaintiff deposited the funds relevant to this matter into Bank of America. Bank of
America failed to protect the funds because they did not properly verify whether the
person doing Wire transfers out of the account actually was the same person who

deposited the funds.

Defendant engaged in blatant self-dealing because they earned a $30 fee on each wire
transfer they initiated which highlights their involvement in the fraudulent

transactions in subject here.

Defendant also engaged in blatant self-dealing because Plaintiff is the depositor and

Defendant makes money through its loans program off of Plaintiff’s deposits And in

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exchange Defendant is supposed to provide interest which Plaintiff did has not receive

and/or has no access to receive them even after a written and oral demand by Plaintiff.

1.24 Plaintiff made mention of Regulation E because Plaintiff made a timely claim under
this Regulation E with Bank of America. 13ank of America did not do a thorough
investigation nor followed the 10 business day rule outlined in Regulation E. They
never provisionally credited the Plaintiff for the amount of the naudulent Wires nor
made any funds available to Plaintiff to actually withdraw as the depositor. ln addition
to that, Plaintiff also timely informed Bank of America that his identity had been
stolen prior to these wires taking place. Furthermore, after doing some digging, theses
wires took place in a Bank of America branch in Seattle, Washington. Plaintiff was
not in the Seattle area on April 3rd 2017 nor April 18th 2017. Plaintiff has an alibi to

that effect.

1.25 Plaintiff never gave any Bank of America employee any specific instruction or any
instruction for that matter to wire transfer funds out of the checking account in subject
in regards to these two transactions on April 3'd 2017 and April 18th 2017. But for the
actions of the Defendant such as failure to comply with Uniform Commercial Code §
4A-201 and § 4A-202, Plaintiff was harmed and suffered actual damages. ln addition
to that, Plaintiff suffered lost opportunity damages due to Bank of America’s failure to
return the funds of $l77,553.15 to Plaintiff even after written and oral demand and

filing of a timely claim.

1.26 This case is primarily a breach of agency case with the basis being unauthorized
activity and fraud. According to the Restatement, Third, of Agency, Section 8.08:

“Subject to any agreement with the principal, an agent has a duty to the principal to

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act with the care, competence and diligence normally exercise by agents in similar
circumstances Special skills or knowledge possessed by an agent are circumstances to
be taken into account in determining whether the agent acted with due care and
diligence...” A representative’s duty of care is governed by common law agency
principles as set forth above; the duty of care is also determined by securities industry
standards and duties arising nom securities industry affiliation The duties state in
Section 8.08 are tort law duties because they “denote the fact that the actor is required
to conduct himself in a particular manner at the risk that if he does not do so, he
becomes subject to liability to another to whom the duty is owed for any injuries
sustained by such other, of which that actor’s conduct is legal cause.” Restatement
(Second) Torts, Section 4. Tort law imposes duties of care on an agent because the
agent undertakes to act on behalf of the principal, because the principal’s reliance on
that undertaking is foreseeable by the agent, and because it is often socially useful that
an agent fulfill the agent’s undertaking to the principal. See, Reinstatement (Second)
Torts, Section 323. That overlap between tort and contractual duties will often provide
the principal with alternative remedies when a breach of duty subjects the agent to

liability. Restatement (Third) of Agency, Section 8.08 comment b.

1.27 Washington law follows the restatement Agents have a duty to exercise care in
dealing with their principals and are liable for any damage caused by a breach of that
duty. Monty v. Peterson, 85 Wn.2d 956, 540 P.2d 1377 (1975). The fiduciary
obligation of the agent to its principal may be a breached although no corruption,
dishonesty or bad faith is involved. Williams v. Queen Fisheries, lnc., 2 Wash. App
691, 469 P.2d 583 (1970). An agent exceeding, violating or neglecting instructions is

responsible to principal for all losses naturally resulting. Nelson v. Smith, 140 Wash.

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293, 248 P. 798 (1926), and where an agent’s breach of duty is clear, the principal will
be presumed to have sustained some damage but to recover more, there must be proof
of real loss or actual damage. Miller v. Staples & Son Fruit Company lnc., 26 Wash.
App. 166, 611 P.2d 801 (1980). An agent’s negligence renders him or her liable for
actual damages caused to the principal Monty V. Peterson, 85 Wn.2d 956, 540 P.2d

1377 (Wash. 1975).

The actual damages are ordinarily calculated based on protection of the disappointed
promises’ expectation interest and are designed to secure for that party the benefit of
the bargain that he or she made by awarding the sum of money that will place the
promise in as good a position as he or she would have occupied had the contract been
performed (See, Reinstatement Second of Contracts, Section 344 and cases cited
thereunder.) The party’s expectation interest is measured by his anticipated receipts
plus losses caused by the breach, less any cost or other loss he has avoided by not
having to perform. LeFarge Corp. V. Wolf, 977 S.W.2d 181 (Tex. App. Austin 1998).
ln Plaintiffs case, there can be no question that there was an agency relationship
requiring Defendant’s faithful performance of its obligations to Plaintiff, as required

under the common law and in compliance with Uniform Commercial Code.

On March 31St 2017, Plaintiff informed a Bank of America representative of
Plaintiff’s plan to buy 100 bitcoins with $150,000 on April 27th 2017 and wire transfer

the funds from checking account in subject to Coinbase.

Price of Bitcoin was $1,332.91 on April 27th 2017

Price ofBitcoin was $13,444.88 on January 1St 2018

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The significant measure of damages is the value of the lost opportunity to purchase
Bitcoin. This is essentially a lost profits analysis where a Plaintiffs damages are

measured by What Was not earned due to the defendant’s wrongful conduct

Actual damages include “damages for injury in fact, as distinguished from exemplary,
nominal or punitive damages.” Ellingson v. Spokane Mortgage Co., 19 Wash.App. 48,
58, 573 P.2d 389 (1978); Lost profits are a recoverable element of damages Lundgren
v. Whitney's, lnc., 94 Wn.2d 91, 98, 614 P.2d 1272, 1276 (1980). ln order to recover,
the Plaintiff must show that the lost profits were contemplated by the parties, are the
proximate result of defendants breach, and they must be proven with reasonable
certainty. Larsen v. Walton Plywood Co., 65 Wn.2d 1, 15-16, 390 P.2d 677 (1964).
The proximate cause aspect of lost opportunity damages requires certainty as to the
fact that damage resulted from defendants breach. Tiegs v. Watts, 135 Wn.2d 1, 17-

18, 954 P.2d 877, 886 (1998).

Plaintiff will prove Respondent’s negligence by a preponderance of the evidence and
resulting damages with reasonable certainty. Declaration will establish Defendant’s
failure to fulfill its duty of care in handing Plaintiff s funds The only real question
here is ascertaining damages Damages which are remote and speculative cannot be
recovered Larsen v. Walton Plywood Co., 65 Wn.2d 1, 16, 390 P.2d 677, 686 (1964)
citing Bromley v. Heffernan Engine Works, 108 Wash. 31, 182 Pac. 929; National
School Studios v. Superior School Photo Ser., 40 Wn. 2d 263, 242 P.2d
756. However, if a Plaintiff has produced the best evidence available, and if the
evidence affords a reasonable basis for estimating the loss, courts will not permit a
wrongdoer to benefit from the difficulty of determining the dollar amount of loss

Lundgren v. Whitney's, lnc., 94 Wn.2d 91, 98, 614 P.2d 1272, 1276 (1980),

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citing Reefer Queen Co. v. Marine Constr. & Design Co., 73 Wn.2d 774, 781, 440
P.2d 448 (1968). The Plaintiff need not prove the exact amount of lost profits if the
evidence is sufficient to establish a reasonable basis for estimating the plaintiffs lost
profits Larsen, 65 Wn.2d at 18. Although damages which are remote and speculative
cannot be recovered, lost profits will not be denied where factual data is presented as a
basis for computing probable losses Tiegs, 135 Wn.2d at 17-18. Finally, that
Defendant did not earn a commission will not preclude Plaintiffs recovery, because
he may recover damages based on the harm caused by Defendant‘s breach of duty

even when it did not profit by the breach. Restatement 3d of Agency, §8.01.

Once the Court concludes that Defendant negligently handled Plaintiff’s funds as well
as the investigation finding, the next analysis is the damages suffered Here, all

parties knew of Plaintifl’s intent to purchase 100 Bitcoin.

The effect of that failure was the Plaintiff was unable to fully purchase Bitcoin
through Coinbase as planned Had Defendant returned Plaintiff’s funds, Plaintiff
would have successfully wire transferred the funds to Coinbase on April 26th, 2017
and purchase 100 Bitcoin on April 27“‘, 2017. The evidence will include a Declaration
on moment by moment Bitcoin values, and Bitcoin pricing at relevant times, in order
to show the significant appreciation, which of course yielded the opportunity that

Defendant squandered.

ADDITIONAL INDISPUTABLE FACTS AND ARGUMENT; DEFENDANT
BANK’S FAILURE TO COMPLY WITH UNIFORM COl\/[MERCIAL CODE

WITH THEIR ALLEGED INVESTIGATION FINDING

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After the Defendant Bank’s investigations the only reason that Defendant Bank gave
to Plaintiff for twice denying his timely-made Regulation E claim for those fraudulent
wire transfers was that the signatures matched [sic]. When they say that signatures
matched, they refer to the signature card for the account in subject was compared to
the signature on the wire transfers That was the only alleged finding that they
supplied to Plaintiff even alter numerous calls and demands in writing for any
additional findings

Taken verbatim from Uniform Commercial Code: “§ 4A-202. AUTHORIZED AND
VERIFIED PAYMENT ORDERS. (b) lf a bank and its customer have agreed that the
authenticity of payment orders issued to the bank in the name of the customer as
sender will be verified pursuant to a security procedure, a payment order received by
the receiving bank is effective as the order of the customer, whether or not authorized,
if (i) the security procedure [sic] is a commercially reasonable method of providing
security against unauthorized payment orders, and (ii) the bank proves that it accepted
the payment order in good faith and in compliance with the security procedure and
any written agreement or instruction of the customer restricting acceptance of
payment orders issued in the name of the customer. The bank is not required to follow
an instruction that violates a written agreement With the customer or notice of which is
not received at a time and in a manner affording the bank a reasonable opportunity to
act on it before the payment order is accepted.” Also restated in RCW 62A.4A-202.
Again taken verbatim from Uniform Commercial Code: “§ 4A-202. AUTHORIZED
AND VERIFIED PAYMENT ORDERS. “(c) Commercial reasonableness of a
security procedure [sic] is a question of law to be determined by considering the
wishes of the customer expressed to the bank, the circumstances of the customer

known to the bank, including the size, type, and frequency of payment orders

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normally issued by the customer to the bank, alternative security procedures offered to
the customer, and security procedures in general use by customers and receiving
banks similarly situated A security procedure is deemed to be commercially
reasonable if (i) the security procedure was chosen by the customer after the bank
offered, and the customer refused, a security procedure that was commercially
reasonable for that customer, and (ii) the customer expressly agreed in writing to be
bound by any payment order, whether or not authorized issued in its name and
accepted by the bank in compliance with the security procedure chosen by the
customer.” Also restated in RCW 62A.4A-202.

Lastly taken verbatim from Uniform Commercial Code: “§ 4A-201. SECURITY
PROCEDURE. “Security procedure" means a procedure established by agreement of
a customer and a receiving bank for the purpose of (i) verifying that a payment order
or communication amending or cancelling a payment order is that of the customer, or
(ii) detecting error in the transmission or the content of the payment order or
communication A security procedure may require the use of algorithms or other
codes, identifying words or numbers, encryption, callback procedures, or similar
security devices Comparison of a signature on a payment order or
communication with an authorized specimen signature of the customer is not by
itself a security procedure [sic].” Also restated in RCW 62A.4A-201.

lt is clear from Uniform Commercial Code that what Defendant actually should’ve
wrote and told Plaintiff after the conclusion of the investigation was that Defendant
Bank had no valid findings to twice deny Plaintiffs Regulation E claim and there was
indeed an error. And Defendant will return Plaintiffs funds of $l77,553.15.

FURTHERMORE taken verbatim from

(https://www.fdic.gov/consumers/assistance/protection/errorresolution.html), “The

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Electronic Fund Transfer Act (EFTA), as implemented by Regulation E, provides
basic protections for consumers with electronic direct deposits or who use debit cards
to access their deposit account held directly or indirectly at a bank. These protections
include timeframes by which a bank must investigate and determine whether an error
occurred when you notify your bank of an error and, in some cases, requirements to
provide provisional credit while the investigation is performed F or example, if you
notify your bank of a potential account error, Regulation E requires a bank to
investigate and determine whether an error occurred within 10 business days of
receiving your notice (or 20 business days for new accounts). lf a bank is unable to
complete its investigation within the appropriate timeframe, it may take up to 45 days
to determine whether an error occurred [sic]. But in these cases, banks must
generally provide consumers with a provisional credit to their account within 10 days
of the bank receiving the error notice. Also, banks must notify consumers about the
provisional credit within two days of providing the credit. .. lf the bank determines
there is an error on your account, it must correct the error within one business day
after confirming it and report the results to you within three business days after
completing its investigation (including, if applicable, notice that a provisional credit
has been made final). lf a bank determines that no error occurred or that an error
occurred in a manner or amount different from that described in your notice, the bank
must send a written explanation of its findings [sic] and note your right to request
the documents the bank relied on for its investigation When the bank debits the funds
provisionally credited to your account during the investigation, it must provide you
with the date and amount debited ln addition, the bank must inform you that it will

honor checks, drafts, or similar instruments payable to third parties and preauthorized

DONTE McCLELLON
Pro Se Plaintiff

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transfers from your account (without charge as a result of an overdraft) for five
business days after the notification.”

Second-Tier Liability ($500 Maximum): §1005.6(b)(2). lf a consumer fails to notify
the financial institution within two business days after learning that the access device
was lost or stolen but notifies the institution of the loss or theft within 60 days of the
financial institution’s transmittal of the statement containing the error, the institution
may hold the consumer liable for the lesser of (a) 8500 or (b) the sum of: (i) the
consumer’s first-tier liability, i.e., the lesser of $50 or the amount of unauthorized
EFTs that occur before the end of the second business day after the consumer learns of
the loss or theft; and (ii) the amount of unauthorized EFTs that occur after the end of
the second business day after the consumer learns of the loss or theft and before notice
to the institution, provided the institution establishes that the unauthorized EFTs
would not have occurred had the consumer provided notice within two business days
after learning of the loss or theft.22”

Duty - The defendant owed a legal duty to the plaintiff under the circumstances;
Breach - The defendant breached that legal duty by acting or failing to act in a certain
Way;

Causation - lt was the defendants actions (or inaction) that actually caused the
plaintiffs injury; and

Damages - The plaintiff was harmed or injured as a result of the defendants actions

llI. PARTIES

Plaintiff Donte McClellon is an individual residing in King County, Washington.

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3.2 Corporate Defendant Bank of America, N.A. regularly conducts business in King

County, Washington.
lV. EXERCISING OF RlGHTS
4.1 Plaintiff is exercising his rights to demand a jury trial.
V. PRAYER FOR RELlEF
Wherefore, Plaintiff respectfully request that this Court:

Order Defendant to pay treble damages pursuant to Washington Consumer Protection Act

RCW 19.86.090, in amounts to be determined at trial

Order Defendant to pay punitive damages, compensatory damages, direct damages actual

damages, and consequential damages
Order Defendant to pay lost of Opportunity Damages

Order Defendant to make Plaintiff whole by returning Plaintiff s funds with prejudgment

interest, in amounts to be determined at trial

Award Plaintiff all of the recoverable costs of this action, attorneys’ fees, cost, prejudgment
interest, in amounts to be determined at trial; and
Grant any additional or further relief as provided by law which this Court finds appropriate,

equitable, or just.

DATED this 18dl day of March, 2019

DONTE McCLELLON
Pro Se Plaintiff

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By 523/ada

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